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12   and National Press Photographers Association
13
                                UNITED STATES DISTRICT COURT
14
                              CENTRAL DISTRICT OF CALIFORNIA
15
                                          WESTERN DIVISION
16
                                         )   Case No.:
17                                       )
     AMERICAN SOCIETY OF                 )
18   JOURNALISTS AND AUTHORS,            ) DECLARATION OF MICKEY H.
     INC., and NATIONAL PRESS            ) OSTERREICHER IN SUPPORT OF
19                                       )
     PHOTOGRAPHERS ASSOCIATION, )            PLAINTIFFS’ MOTION FOR
20                                       )  PRELIMINARY INJUNCTION
                   Plaintiffs,           )
21                                       )
                                         )
22         v.                            )
                                         )
23                                       )
     XAVIER BECERRA, in his official     )
24   capacity as Attorney General of the )
     State of California,                )
25                                       )
                                         )
26                Defendant.             )
27
28   ______________________________________________________________________________
      Declaration of Mickey H. Osterreicher in        -1-                          Case No.:
      Support of Plaintiffs’ Motion for Preliminary
      Injunction
     Case 2:19-cv-10645-PSG-KS Document 13 Filed 12/20/19 Page 2 of 4 Page ID #:74



 1          I, Mickey H. Osterreicher, declare as follows:
 2          1.       The facts set forth in this declaration are based on my personal
 3   knowledge obtained in my role as General Counsel of Plaintiff National Press
 4   Photographers Association (NPPA) and, if called as a witness, I could and would
 5   competently testify thereto under oath. As to those matters which reflect a matter of
 6   opinion, they reflect my personal opinion and judgment upon the matter.
 7          2.       I began my career as a photojournalist nearly 50 years ago as a
 8   freelancer for the Associated Press and the New York Times.
 9          3.       I was part of the first graduating class of “special majors” at SUNY
10   Buffalo,        receiving         my         Bachelor   of   Science   degree      in
11   “Photography/Photojournalism” in 1973. Earlier that year I had already been hired
12   as a staff photographer for the Buffalo Courier-Express where I worked until it
13   closed in 1982. I also did freelance work for Time Magazine and many other
14   publications.
15          4.       After the Buffalo Courier-Express closed, I went to work at the local
16   ABC affiliate, WKBW-TV, shooting and editing video along with field producing,
17   until 2004.
18          5.       I also freelanced for ESPN and a number of other networks as well as
19   shooting stills for Time and USA Today.
20          6.       I went to law school while I was still working at WKBW-TV and was
21   admitted to practice in New York in 1999.
22          7.       I joined the National Press Photographers Association in 1973 and
23   continue to be a proud dues-paying member.
24          8.       I became NPPA’s general counsel in 2006.
25          9.       Chartered in 1946, NPPA is the nation’s leading professional
26   organization for visual journalists. Its membership includes news photographers
27   from print, television, and electronic media. NPPA has 536 members in the state of
28   ______________________________________________________________________________
      Declaration of Mickey H. Osterreicher in        -2-                        Case No.:
      Support of Plaintiffs’ Motion for Preliminary
      Injunction
     Case 2:19-cv-10645-PSG-KS Document 13 Filed 12/20/19 Page 3 of 4 Page ID #:75



 1   California. NPPA advocates in support of visual journalists’ First Amendment rights
 2   to report on news and matters of public concern as well as to protect the copyright
 3   of their images.
 4          10.      As the U.S. Supreme Court explained in Cmty. for Creative Non-
 5   Violence v. Reid, 490 U.S. 730, 737 (1989), the default in copyright law is that an
 6   employer owns the copyright to the photographs taken by their employees.
 7          11.      In my experience as a visual journalist and general counsel for NPPA,
 8   I have never seen a staff photographer or videographer retain the copyright to their
 9   work. As independent contractors, freelance visual journalists retain their copyright
10   by default and it is common for our members to insist that they retain the copyright
11   to their work.
12          12.      Retaining the copyright to their work as freelancers allows our
13   members more opportunities to further license their work and realize additional
14   income.
15          13.      At an earlier point in the history of NPPA, much of our membership
16   was composed of visual journalists, like me, who were employed as staff
17   photographers.
18          14.      Over the years that membership demographic has changed so that
19   currently, a large number of our members work as freelancers. This is due in great
20   part to the fact that many news organizations have greatly reduced their staff (in both
21   print and broadcast), eliminated their photo staffs entirely, or have ceased to exist
22   altogether.
23          15.      In the visual journalism industry, many freelancers choose to be
24   independent contractors because it offers them greater flexibility and fewer hours
25   than full-time employment. Still others choose to freelance because they earn
26   significantly more money, and have greater financial security. An independent visual
27   journalist can have a variety of clients which diversifies their income stream. In
28   ______________________________________________________________________________
      Declaration of Mickey H. Osterreicher in        -3-                         Case No.:
      Support of Plaintiffs’ Motion for Preliminary
      Injunction
     Case 2:19-cv-10645-PSG-KS Document 13 Filed 12/20/19 Page 4 of 4 Page ID #:76



 1   addition, independent photographers have the flexibility to work on special projects
 2   that are foreclosed by the demands of a staff position.
 3          16.      Despite AB 5’s supposed well-meaning intentions, the economic reality
 4   for those in the news industry is that nothing will force already struggling companies
 5   to hire more employees, and in fact the 35 submission cap for still photographers,
 6   and failure to include those who shoot video in the “professional services”
 7   exemption, will result in devastating hardship to our freelance members who are
 8   impacted by the bill.
 9          I declare under penalty of perjury under the laws of the United States of
10   America that the foregoing is true and correct.
11          Executed on December 17
                                 __, 2019, at ________________,
                                              Buffalo           New York.
12
13                                                                             Digitally signed by Mickey H.
                                                      Mickey H. Osterreicher   Osterreicher
14                                                    ________________________________
                                                                               Date: 2019.12.17 11:59:12 -05'00'


15                                                    MICKEY H. OSTERREICHER
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28   ______________________________________________________________________________
      Declaration of Mickey H. Osterreicher in        -4-                                                 Case No.:
      Support of Plaintiffs’ Motion for Preliminary
      Injunction
